
PER CURIAM.
Deborah A. Buschor appeals the denial of unemployment compensation benefits. In the present case conflicting testimony was offered by the parties. It was the responsibility of the referee to resolve the conflicts, which he did in this case in favor of the employer. See Wallace v. Zahn Dental Co., Inc., 618 So.2d 382 (Fla. 3d DCA 1993). This court is not allowed to overturn the referee’s factual findings, as long as there was competent, substantial evidence at the hearing which supports the findings. See Gonzalez v. Master Flowers, Inc., 605 So.2d 180 (Fla. 3d DCA 1992). As we see no legal basis on which to disturb the referee’s findings, the order is affirmed. See also St. Augustine Church v. Florida Unemployment Appeals Comm’n, 754 So.2d 183 (Fla. 3d DCA 2000); Stahl v. Florida Unemployment Appeals Comm’n, 502 So.2d 78 (Fla. 3d DCA 1987).
Affirmed.
